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  11   Masimo Corporation and
  12   Cercacor Laboratories, Inc.

  13
                         IN THE UNITED STATES DISTRICT COURT
  14
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15
                                     SOUTHERN DIVISION
  16

  17   MASIMO CORPORATION, a                   )   Case No. 8:18-cv-2001
       Delaware corporation; and               )
  18   CERCACOR LABORATORIES, INC.,            )   COMPLAINT FOR
       a Delaware corporation,                 )   (1) BREACH OF CONTRACT
  19                                           )   (2) TRADE SECRET
                   Plaintiffs,                 )       MISAPPROPRIATION
  20                                           )   (3) BREACH OF FIDUCIARY DUTY
             v.                                )       AND
  21                                           )   (4) PATENT INFRINGEMENT
       TRUE WEARABLES, INC., a                 )
  22   Delaware corporation; and               )   AND DEMAND FOR JURY TRIAL
       MARCELO LAMEGO, an individual,          )
  23                                           )
                   Defendants.                 )
  24                                           )
  25

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   1         Plaintiffs MASIMO CORPORATION (“Masimo”) and CERCACOR
   2   LABORATORIES, INC. (“Cercacor”) hereby complain of Defendants TRUE
   3   WEARABLES, INC. (“True Wearables”) and MARCELO LAMEGO
   4   (“Lamego”) (collectively, “Defendants”), and allege as follows:
   5                                   I. THE PARTIES
   6         1.     Plaintiff Masimo is a Delaware corporation having its principal
   7   place of business at 52 Discovery, Irvine, California 92618.
   8         2.     Plaintiff Cercacor is a Delaware corporation having its principal
   9   place of business at 40 Parker, Irvine, California 92618.
  10         3.     Plaintiffs Masimo and Cercacor formerly employed Defendant
  11   Lamego as a highly-trusted engineer.
  12         4.     Lamego is now the founder, CEO, and Chairman of the Board of
  13   Defendant True Wearables. True Wearables is a relatively new company that
  14   recently began selling Oxxiom, a pulse oximeter apparently intended to compete
  15   directly with Plaintiffs’ products.
  16         5.     On information and belief, Defendant Lamego resides at 18 Lyra
  17   Way, Coto de Caza, California 92679 and Defendant True Wearables is a
  18   Delaware corporation having a principal place of business at 29826 Avenida de
  19   Las Banderas, Suite 300, Rancho Santa Margarita, California 92688.
  20                         II. JURISDICTION AND VENUE
  21         6.     This civil action includes claims for patent infringement arising
  22   under the patent laws of the United States, 35 U.S.C. §§ 100, et seq., more
  23   particularly, 35 U.S.C. §§ 271 and 281.       This action also arises under the
  24   Defend Trade Secrets Act of 2016 (“DTSA”), 18 U.S.C. § 1836(b)-(c). This
  25   Complaint further alleges breach of contract, trade secret misappropriation, and
  26   breach of fiduciary duty.
  27         7.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
  28   §§ 1331, 1338(a), and 1367(a).
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   1          8.      Defendant Lamego resides in California.           Defendant True
   2   Wearables has its principal place of business in California. Both Defendants are
   3   subject to personal jurisdiction in California and have committed the acts
   4   complained of in this Judicial District.      The relevant agreements between
   5   Plaintiffs and Lamego also include consent to personal jurisdiction in
   6   California.
   7          9.      Venue is proper in the Southern Division of the Central District of
   8   California pursuant to 28 U.S.C. § 1400(b) with respect to patent infringement
   9   because Lamego resides in, and True Wearables has its regular and established
  10   place of business in, the County of Orange within the Central District of
  11   California. Defendants also have committed acts of infringement in this Judicial
  12   District.     Venue is also appropriate in this Judicial District under U.S.C.
  13   § 1391(b) with respect to the DTSA claims.
  14                          III. STATEMENT OF THE CASE
  15          10.     This action seeks relief for the theft of Plaintiffs’ highly
  16   confidential information and trade secrets, and infringement of Masimo’s
  17   patents by Lamego and True Wearables. Lamego betrayed Plaintiffs’ trust by
  18   acquiring and wrongfully using their highly confidential and proprietary
  19   technical information, product plans, manufacturing knowledge, and other
  20   highly confidential information. Lamego also breached his agreements with
  21   Plaintiffs by using and disclosing Plaintiffs’ confidential information. This
  22   action also seeks relief for Lamego’s breach of his fiduciary duty to Cercacor.
  23                            IV. STATEMENT OF FACTS
  24          11.     Masimo is a medical technology company that revolutionized pulse
  25   oximetry and is the only company to have succeeded in developing certain other
  26   noninvasive patient monitoring technologies. Pulse oximetry is a noninvasive
  27   method for monitoring a person’s arterial oxygen saturation (also called
  28   “SpO2”) and pulse rate from a sensor that is attached to a user. Before Masimo,
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   1   pulse oximetry was plagued by unreliability, often when the measurement was
   2   needed most, due to patient motion and low peripheral blood flow (known as
   3   “low perfusion”).     The industry had essentially given up on solving this
   4   problem, concluding it was largely unsolvable. Clinicians had to live with the
   5   results – patient monitors gave excessive false alarms, froze their measurements
   6   for prolonged periods of time despite potential changes in oxygen saturation or
   7   pulse rate, delayed notification of alarms due to long averaging times of sensor
   8   data, produced inaccurate measurements, or were unable to obtain data on the
   9   most critical patients and babies who cannot be instructed to stay still.
  10   Masimo’s pioneering technology, known as Masimo Signal Extraction
  11   Technology (“Masimo SET”), solved this problem and dramatically improved
  12   patient safety by accurately monitoring and reporting oxygen saturation and
  13   pulse rate even during motion and low perfusion.
  14         12.      Following its success in pulse oximetry, Masimo subsequently
  15   invested in developing additional breakthrough measurement technologies, such
  16   as non-invasively measuring total hemoglobin, carboxyhemoglobin, and
  17   methemoglobin. Masimo has continued to innovate, succeeding where others
  18   have consistently failed. Masimo was the first, and remains the only, company
  19   delivering these game-changing technologies to hospitals in the United States.
  20         13.      From its inception, Masimo has continuously developed cutting-
  21   edge noninvasive patient monitoring technologies. Masimo sought and received
  22   numerous U.S. patents for many of its inventions in this area.        Masimo’s
  23   revolutionary technology was a key to its gaining significant market praise and
  24   penetration. After introduction into the market, many competitors, much larger
  25   than Masimo, used Masimo’s technology without a license, resulting in patent
  26   infringement lawsuits that ultimately confirmed the validity of Masimo’s
  27   innovations.    But, Masimo does not pursue patents on all its innovations.
  28   Masimo maintains some technology as trade secrets.        In addition, Masimo
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   1   guards its future product and market plans.         Only select employees have
   2   knowledge of and access to these guarded secrets.
   3         14.   Masimo’s innovations also include important advances in sensor
   4   technologies that complement Masimo’s system and algorithms.          Masimo’s
   5   sensors are integral to the success of the revolutionary technologies Masimo has
   6   developed. Masimo also pioneered techniques to manufacture sensors with low
   7   waste and low cost, while still providing high quality and exacting
   8   specifications. These sensor manufacturing techniques have been critical to
   9   Masimo’s innovation engine and success for many years.
  10         15.   In 1998, Masimo spun certain technology off into a new company,
  11   Masimo Laboratories, Inc. or “Masimo Labs,” to further research and develop
  12   the technologies. The name of the company was later changed to “Cercacor.”
  13   Cercacor and Masimo have a license agreement between them to facilitate
  14   confidential collaboration between the companies.
  15         16.   Like Masimo, Cercacor is an innovator of non-invasive monitoring
  16   technologies. Cercacor is on the frontline of understanding how measuring,
  17   tracking, and analyzing physiological parameters can impact pre-diabetic and
  18   diabetic patients, endurance sports training and performance and overall health
  19   and wellness. Cercacor continued the development that started at Masimo on
  20   total hemoglobin (SpHb), methemoglobin (SpMet), and carboxyhemoglobin
  21   (SpCO®) and other non-invasive parameters.
  22         17.   Leading hospitals around the world use Cercacor technology
  23   licensed to Masimo and sold under the name Masimo rainbow SET. Like
  24   Masimo, Cercacor does not pursue patents on all its innovations. Cercacor also
  25   maintains some technology as trade secrets, and guards its future product and
  26   market plans. Only select employees have knowledge of and access to these
  27   guarded secrets.
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   1            18.   Masimo and Cercacor carefully guard the secrecy of their
   2   confidential information and documents. For example, Masimo and Cercacor
   3   have policies regarding labelling confidential information and documents as
   4   “CONFIDENTIAL AND PROPRIETARY.” They also restrict these documents
   5   and information from disclosure to third parties and employees on a need-to-
   6   know basis. Masimo and Cercacor also have policies in place regarding the use
   7   of computers and related equipment that govern how their computer systems
   8   may be used.      Those policies also govern the protection of Masimo’s and
   9   Cercacor’s confidential information.         Both Masimo and Cercacor have
  10   document management systems that restrict access to confidential documents to
  11   only those employees with proper security credentials and a need for access.
  12   Masimo and Cercacor also require employees to sign agreements precluding the
  13   employees from disclosing or making use of any confidential information
  14   except as authorized by Masimo and Cercacor and as necessary for the
  15   performance of the employees’ duties. Masimo and Cercacor implemented such
  16   policies and procedures to maintain the confidentiality of sensitive information.
  17   These polices were in place during Lamego’s employment and remain in place
  18   today.
  19            19.   When Lamego started at Masimo, he was not skilled in
  20   physiological monitoring and had no exposure to manufacturing techniques.
  21   However, Masimo ultimately came to believe, after some time, that he had the
  22   technical capability to excel.   He had exhibited what appeared to be high
  23   integrity and qualities of trustworthiness.    Accordingly, Masimo ultimately
  24   decided to allow Masimo’s key engineers who developed Masimo’s
  25   revolutionary technology to disclose it to Lamego. Masimo believed that, by
  26   allowing these key engineers to disclose the secrets of Masimo’s technologies,
  27   Lamego could eventually take over for Masimo’s chief scientist. To accomplish
  28   this, Masimo arranged to have Lamego shadow these engineers, and expose him
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   1   to every aspect of Masimo’s technology, including top-secret algorithms,
   2   proprietary circuit board manufacturing, confidential sensor designs and much
   3   more.    The engineers disclosed the extensive secrets that underlie Masimo
   4   technology and Masimo gave Lamego unfettered access to its most highly
   5   confidential technical information. Masimo groomed Lamego to continue this
   6   development with the access he had been given to the top engineers at Masimo.
   7           20.   In addition to revealing the secrets of Masimo’s technology,
   8   Masimo exposed Lamego to Masimo’s plans with respect to future products and
   9   market plans.      Through this exposure, Masimo disclosed to Lamego what
  10   technologies Masimo believed would be significant and successful in those
  11   markets.
  12           21.   Masimo’s founder, Chairman and CEO, also disclosed to Lamego
  13   Masimo’s know-how and trade secrets regarding his strategic vision of non-
  14   invasive monitoring, managing an R&D organization, and strategic product and
  15   marketing plans. Indeed, Masimo’s founder had regular one-on-one meetings
  16   with Lamego to disclose Masimo’s know-how and trade secrets to him.
  17           22.   Lamego started with Masimo in 2000 as an Algorithm Engineer,
  18   initially staying less than one year. At that time, Lamego agreed to and signed a
  19   Masimo Employee Confidentiality Agreement (the “Masimo 2000 Agreement”)
  20   dated June 26, 2000. A copy of the Masimo 2000 Agreement is attached hereto
  21   as Exhibit 1.      Among the terms of the Masimo 2000 Agreement are the
  22   following:
  23                 a.     “For purposes of this Agreement, the term Confidential
  24           Information means any information in any form that Masimo considers
  25           confidential, including business plans, customer files, sales and marketing
  26           reports, technical data, prices and costs, designs and formulas, software,
  27           databases, personnel and payroll records, mailing lists, accounting
  28           records, and other business information.”
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   1               b.     “During my employment by Masimo, I will not disclose or
   2         make use of any Confidential Information except as authorized by
   3         Masimo and as necessary for the performance of my duties as a Masimo
   4         employee.”
   5               c.     “After my employment with Masimo has terminated, I will
   6         not disclose or make use of any Confidential Information for any purpose,
   7         either on my own or on behalf of another business.”
   8               d.     “Upon termination of my employment for any reason, I will
   9         immediately assemble all property of Masimo in my possession or under
  10         my control and return it unconditionally to Masimo.”
  11               e.     “During my employment, I will devote all of my working
  12         time and energy to the business of Masimo, and I will not render services
  13         to anyone outside Masimo, accept competing employment, or make
  14         preparations to compete with Masimo.”
  15               f.     “During and after my employment, I will not solicit or
  16         induce any employee or consultant of Masimo to quit their employment
  17         or cease doing business with Masimo….”
  18               g.     “For purposes of enforcing this Agreement, I hereby consent
  19         to jurisdiction in the Superior Court of California for the County of
  20         Orange, as well as any other jurisdiction allowed by law.”
  21               h.     “I understand that my obligations under this Agreement
  22         remain in effect even after my employment with Masimo terminates.”
  23         23.   When he started in 2000, Lamego was not familiar with pulse
  24   oximetry product development.       Masimo’s key engineers began training
  25   Lamego on Masimo’s pulse oximetry technology, from basic principles to
  26   sophisticated Masimo algorithms and approaches.
  27         24.   Lamego left Masimo for a short period from January 2001 to
  28   December 2002 to work as a consultant and professor. Lamego returned to
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    1   Masimo in January 2003, as a Research Scientist, and held that position until
    2   November 2006.
    3         25.    Upon re-joining Masimo, Lamego signed a second agreement with
    4   Masimo dated January 28, 2003 with provisions similar to his first agreement.
    5   A copy of the 2003 Agreement is attached hereto as Exhibit 2. The 2003
    6   Agreement further confirmed, “I agree to assign and hereby assign to Masimo
    7   all rights that I may have to any inventions, works of authorship, developments,
    8   improvements, or trade secrets that I may develop during the course of my
    9   employment, except for inventions which I am allowed to retain under
  10    California Labor Code section 2870, a copy of which is attached to this
  11    Agreement as Exhibit B.”
  12          26.    Masimo’s most trusted and skilled engineers continued to expose
  13    Lamego to Masimo’s technology.        As Lamego became more immersed in
  14    Masimo’s technology, Masimo gave Lamego access to the most confidential of
  15    information that was restricted to only a very small number of Masimo’s trusted
  16    engineers.   Masimo’s chief scientist spent significant time over the years
  17    disclosing to Lamego Masimo’s technical know-how and trade secrets. To
  18    accelerate this process, Masimo’s chief scientist shared an office with Lamego
  19    for years, disclosing everything he could about Masimo technology. Masimo
  20    expected Lamego would eventually succeed Masimo’s chief scientist.
  21          27.    In his trusted position, Masimo exposed Lamego to Masimo’s
  22    future product and market plans. Lamego was a senior member of a team that
  23    was developing SpHb, SpMet, SpCO, and other non-invasive parameters. He
  24    was also part of a team developing a plan to pursue un-tethered, wearable
  25    monitoring solutions and wireless sensors, whereby the patient or user would no
  26    longer be connected by a wire to a monitor. Masimo had begun its strategic
  27    plans for wireless sensors and wearable monitors, and Lamego was privy to
  28    those discussions and plans. Those plans also included developing wearable
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    1   devices, including wireless sensors and wearable monitors, and marketing those
    2   products outside of the medical field, for example, to athletes and health
    3   conscious consumers. Lamego was personally involved in strategic discussions
    4   on both the marketing and product plans for wireless sensors and wearable
    5   monitors and the planned target markets.         These plans were not generally
    6   known.
    7         28.   Lamego signed a third agreement with Masimo dated January 31,
    8   2005. A copy of the 2005 Agreement is attached hereto as Exhibit 3. The 2005
    9   Agreement also added:
   10               a.     “For purposes of this Agreement, the term Confidential
   11         Information means any information in any form that Masimo considers
   12         confidential, including without limitation business plans, customer files,
   13         sales and marketing reports, technical data, prices and costs, designs and
   14         formulas, software, databases, personnel and payroll records, mailing
   15         lists, accounting records, and other business information. Confidential
   16         Information also includes information to which I am exposed during the
   17         course of my employment with Masimo that is considered confidential to
   18         Masimo’s affiliates or any third party.”
   19               b.     “Upon termination of my employment for any reason, I will
   20         immediately assemble all property of Masimo in my possession or under
   21         my control and return it unconditionally to Masimo.
   22               c.     “I agree that the fruits and products of my labor as a Masimo
   23         employee shall belong solely to Masimo.”
   24               d.     “I agree that the activities forbidden in paragraphs 13 and 14
   25         above would necessarily involve the use or disclosure of Masimo’s trade
   26         secrets and proprietary and confidential information . . . and are necessary
   27         to protection of Masimo’s trade secrets and proprietary and confidential
   28         information. I understand that none of my activities will be prohibited
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    1           under paragraphs 13 and 14 to the extent that I can prove that the action
    2           was taken without the use or disclosure of any of Masimo’s trade secrets
    3           or proprietary or confidential information.
    4           29.   In 2006, Lamego, having received extensive exposure to Masimo’s
    5   confidential information from Masimo’s key engineers, moved from Masimo to
    6   Masimo Labs. Lamego was promoted to Chief Technical Officer of Masimo
    7   Labs.    With this promotion, he became the most senior ranking executive
    8   engineer of Masimo Labs. Masimo Labs’ mission was to continue developing
    9   non-invasive technologies using the technology originally developed at
   10   Masimo, which was licensed to Masimo Labs. Masimo Labs focused on the
   11   market outside of the professional medical caregiver market with these new
   12   innovative technologies.
   13           30.   Masimo Labs was also working to measure glucose levels in the
   14   blood non-invasively. As CTO, Lamego led all Masimo Labs’ technology
   15   development. He was also involved in, exposed to, and responsible for carrying
   16   out strategic plans for products and markets, including for wearable monitors
   17   and wireless sensors, and target markets for those products.
   18           31.   While     at   Masimo    Labs,   Lamego     signed    an   Employee
   19   Confidentiality Agreement (the “Cercacor Agreement”) dated May 19, 2009. A
   20   copy of the Cercacor Agreement is attached hereto as Exhibit 4. Among the
   21   terms of the Cercacor Agreement are the following:
   22                 a.      “For purposes of this Agreement, the term Confidential
   23           Information means any information in any form that Masimo Labs
   24           considers confidential, including without limitation business plans,
   25           customer files, customer lists, supplier lists, sales and marketing reports,
   26           forecasts, strategies, technical data, prices and costs, designs and
   27           formulas, discoveries, processes, manufacturing techniques, know-how,
   28           improvements, ideas or copyrightable works, software, databases,
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    1         personnel and payroll records, mailing lists, accounting records, works of
    2         authorship, inventions, trade secrets and other business information.
    3         Confidential Information also includes information to which I am
    4         exposed during the course of my employment with Masimo Labs that is
    5         considered confidential to Masimo Labs’ affiliates or any third party.”
    6               b.     “During my employment by Masimo Labs, I will not
    7         disclose or make use of any Confidential Information except as
    8         authorized by Masimo Labs and as necessary for the performance of my
    9         duties as a Masimo Labs employee.”
   10               c.     “After my employment with Masimo Labs has terminated, I
   11         will not disclose or make use of any Confidential Information for any
   12         purpose, either on my own or on behalf of another business.”
   13               d.     “Upon termination of my employment for any reason, I will
   14         immediately assemble all property of Masimo Labs, including any
   15         proprietary or confidential information, in my possession or under by
   16         control and return it unconditionally to Masimo Labs.”
   17               e.     “During my employment, I will devote all of my working
   18         time and energy to the business of Masimo Labs, and I will not render
   19         services to anyone outside Masimo Labs, accept competing employment,
   20         or make preparations to compete with Masimo Labs.”
   21               f.     “I agree that the activities forbidden in paragraphs 13 and 14
   22         above would necessarily involve the use or disclosure of Masimo Labs’
   23         trade secrets and proprietary and confidential information and are
   24         necessary to protection of Masimo Labs’ trade secrets or activities.”
   25               g.     “For purposes of enforcing this Agreement, I hereby consent
   26         to jurisdiction in the Superior Court of California for the County of
   27         Orange, as well as any other jurisdiction allowed by law.”
   28   ///
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    1                h.      “I understand that my obligations under this Agreement
    2         remain in effect even after my employment with Masimo Labs
    3         terminates.”
    4         32.    The Masimo 2000 Agreement, 2003 Agreement, 2005 Agreement,
    5   and the Cercacor 2009 Agreement are collectively referred to herein as the
    6   “Lamego Agreements.”
    7         33.    At Masimo Labs, later renamed Cercacor, Lamego’s understanding
    8   of Plaintiffs’ confidential information continued to develop regarding, among
    9   other things, the construction of physiological sensors, how to manufacture
   10   high-quality sensors to exacting specifications at a reasonable cost, how to
   11   process signals based on light transport through physiological tissue, and photon
   12   diffusion.   He continued to be Cercacor’s most-trusted engineer with
   13   unrestricted access to Masimo’s and Cercacor’s confidential information. In his
   14   executive role at Cercacor, he was further closely involved in the strategic future
   15   plans of Masimo and Cercacor on many topics, including Masimo plans to enter
   16   certain markets and particular technologies that would likely be successful. He
   17   was also introduced to potential suppliers relating to components for wireless
   18   sensors and untethered monitors.
   19         34.    In his role at Cercacor, Lamego led the engineering team and
   20   Cercacor’s research and product development. With regular guidance provided
   21   by the CEO, Lamego managed and directed all technical activities, including
   22   developing product roadmaps, project management, intellectual property
   23   strategy, recruitment of employees, negotiation of supplier agreements and non-
   24   disclosure agreements, modeling, hardware development, algorithm design,
   25   software implementation, biosensor development, and industrial design.
   26   Lamego also participated in many discussions about the development of a
   27   wireless sensor and other wireless configurations for Plaintiffs. Masimo and
   28   Cercacor disclosed their vast pulse oximetry sensor technology, including
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    1   processing of signals based on light transport through physiological tissue, and
    2   photon diffusion while he worked.        Masimo also disclosed manufacturing
    3   techniques for producing pulse oximetry sensors with reasonable cost
    4   constraints. As former Chief Technical Officer of Cercacor and a Research
    5   Scientist at Masimo, he had unfettered access to and responsibility for
    6   maintaining Plaintiffs’ highly confidential technical information.
    7         35.    Lamego resigned from Cercacor in January 2014, after having
    8   sought, and obtained, a position at Apple, Inc. Lamego learned of Apple’s
    9   interest and heavy recruiting of Masimo’s technical and clinical team, including
   10   soliciting Masimo’s key engineers.       Apple’s recruitment included the key
   11   engineers that Lamego knew intimately understood Masimo’s technology.
   12   Apple also solicited and succeeded in hiring Masimo’s Chief Medical Officer,
   13   Michael O’Reilly, who as a Masimo executive, was also intimately familiar
   14   with Masimo’s strategic product and marketing plans. Lamego was aware of
   15   Masimo’s and Cercacor’s concerns about Apple pursuing key team members.
   16   On information and belief, Lamego then sought and obtained a position from
   17   Apple.   Shortly after joining Apple, Lamego pursued on behalf of Apple
   18   numerous patent applications on some of the same technologies as disclosed in
   19   Masimo’s patents.
   20         36.    When Lamego informed Masimo and Cercacor that he was leaving
   21   for Apple, Lamego proactively volunteered to Masimo and Cercacor that he
   22   would not work on pulse oximetry and other technologies he had worked on
   23   while with Masimo or Cercacor. He assured Plaintiffs that if Apple asked him
   24   to do so, he would quit. Yet, he continued such work on his own after leaving
   25   Apple.
   26         37.    Although only at Apple for seven months, Lamego was listed as an
   27   inventor in multiple Apple-filed patent applications that were closely tied to the
   28   work he had done and the technology he had been taught by Masimo’s key
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    1   scientists.   Based on those now-published patent applications, Masimo and
    2   Cercacor now understand that while at Apple, Lamego worked as an engineer
    3   on development of non-invasive physiological measurements, including pulse
    4   oximetry, for Apple for wearable products, directly in conflict with his
    5   assurances to Masimo and Cercacor.
    6          38.    After seven months, Lamego’s employment at Apple ended. He
    7   then founded True Wearables. In late 2016, Plaintiffs cautioned Lamego that
    8   his activity raised significant concerns about his obligations to Plaintiffs.
    9   Lamego contended that the products he was developing for True Wearables did
   10   not rely on Plaintiffs’ confidential information. But, Lamego refused to share
   11   with Plaintiffs’ outside counsel the Oxxiom hardware or software. On
   12   information and belief, Lamego later released his Oxxiom device with its
   13   software fully encrypted.
   14          39.    Lamego also was aware of Masimo’s and Cercacor’s ongoing
   15   projects for wearable wireless devices, and indeed, Lamego oversaw such
   16   projects at Cercacor. Plaintiffs’ plans, known to Lamego, were not generally
   17   known outside of Plaintiffs.
   18          40.    After True Wearables introduced its Oxxiom product to market,
   19   Plaintiffs unfortunately confirmed the concerns raised by Lamego and True
   20   Wearables that were identified in the Plaintiffs’ letters.
   21          41.    Lamego never sought any type of permission or rights from
   22   Plaintiffs to use their confidential information, trade secrets or other intellectual
   23   property.
   24          42.    Before Lamego left Cercacor, he claimed to have proven the
   25   feasibility of measuring glucose and multiple other blood constituents non-
   26   invasively. He assured Cercacor’s CEO that he had transferred all know-how
   27   for these measuring these blood constituents to others at Cercacor. Because of
   28   the unexpected departure of Lamego, Cercacor revisited the feasibility studies
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    1   and could not demonstrate feasibility of any of the measurements. Accordingly,
    2   either Lamego withheld from Cercacor information critical to the development
    3   of the technology for these parameters or misrepresented their feasibility.
    4         43.    Lamego also recruited onto Defendant True Wearables’ Board
    5   another former Masimo executive, Anthony Allan, previously Chief Operating
    6   Officer at Masimo. Allan was in charge of manufacturing at Masimo, and had
    7   access to extensive know-how regarding Masimo’s manufacturing, such as how
    8   to manufacture disposable and reusable pulse oximetry sensors, to exacting
    9   specifications, at a reasonable cost with low waste.
   10                          V. FIRST CAUSE OF ACTION
   11          (BREACH OF CONTRACT WITH MASIMO BY LAMEGO)
   12         44.    Masimo hereby realleges and incorporates by reference the
   13   allegations set forth in paragraphs 1 through 43.
   14         45.    The covenants in the Masimo 2000 Agreement, 2003 Agreement,
   15   and 2005 Agreement (collectively, “Masimo Agreements”) were intended and
   16   necessary to protect Plaintiffs’ legitimate business interests in its goodwill and
   17   confidential information.
   18         46.    The Masimo Agreements are valid and enforceable contracts
   19   between Masimo and Lamego.
   20         47.    Because of the Masimo Agreements, Lamego had an obligation to
   21   keep confidential and not to disclose or to make use of any of Masimo’s
   22   confidential information, except as authorized by Masimo and as necessary for
   23   the performance of his duties as an employee of Masimo.
   24         48.    Because of the Masimo Agreements, Lamego also had an
   25   obligation not to disclose or to make use of any Masimo confidential
   26   information, for any purpose, either on his own or on behalf of another business
   27   after his employment with Masimo had terminated.
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    1         49.    Masimo breached the Masimo Agreements by taking and using
    2   Masimo’s confidential information for his own benefit and for the benefit of
    3   True Wearables. On information and belief, Lamego continues to breach the
    4   Masimo Agreements by wrongfully utilizing Masimo’s confidential information
    5   to the benefit of others and in the course of his employment with True
    6   Wearables.
    7         50.    Because of the Masimo Agreements, Lamego also had an
    8   obligation to cooperate with Masimo to do whatever necessary or appropriate to
    9   obtain patents.
   10         51.    Lamego breached the Masimo Agreements by failing to cooperate
   11   with Masimo by failing to pursue the patenting of certain subject matter he was
   12   instructed to pursue, as well as by refusing to review and sign inventor
   13   declarations and assignments for continuing patent applications on which he
   14   was a named inventor. Masimo suffered harm as a result, including attorneys’
   15   fees and expenses.
   16         52.    Masimo has fully performed all its obligations and has satisfied all
   17   conditions for performance under the Masimo Agreement.
   18         53.    Lamego has willfully, and with conscious disregard for the
   19   contractual obligations owed to Masimo, breached the Masimo Agreements.
   20         54.    Unless restrained and enjoined by the Court, Lamego will continue
   21   to breach the Masimo Agreements.
   22         55.    As a foreseeable, direct, and proximate result of Lamego’s breach
   23   of contract, Masimo has suffered irreparable injury to their rights and pecuniary
   24   damages. Masimo will continue to suffer such injury, loss, and damage unless
   25   and until Lamego is enjoined from further use or disclosure of Masimo’s
   26   confidential information.
   27         56.    Lamego has derived and received and will continue to derive and to
   28   receive from the aforementioned breach of contract, gains, profits, and
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    1   advantages, many of which are not presently known to Masimo. As a result,
    2   Lamego should be required to disgorge these gains, profits, and advantages in
    3   restitution for his breach.
    4         57.    Masimo is therefore entitled to injunctive relief or specific
    5   performance of the Masimo Agreements.
    6                         VI. SECOND CAUSE OF ACTION
    7        (BREACH OF CONTRACT WITH CERCACOR BY LAMEGO)
    8         58.    Plaintiffs hereby reallege and incorporate by reference the
    9   allegations set forth in paragraphs 1 through 57.
   10         59.    The covenants in the Cercacor Agreement were intended and
   11   necessary to protect Cercacor’s legitimate business interests in its goodwill and
   12   confidential information.
   13         60.    The Cercacor Agreement is a valid and enforceable contract
   14   between Cercacor and Lamego.
   15         61.    Because of the Cercacor Agreement, Lamego had an obligation to
   16   keep confidential and not to disclose or to make use of any of Cercacor’s
   17   confidential information, except as authorized by Cercacor and as necessary for
   18   the performance of his duties as an employee of Cercacor.
   19         62.    Because of the Cercacor Agreement, Lamego also had an
   20   obligation not to disclose or to make use of any Plaintiffs’ confidential
   21   information, for any purpose, either on his own or on behalf of another business
   22   after his employment with Cercacor had terminated.
   23         63.    Lamego breached the Cercacor Agreement by taking and using
   24   Cercacor’s confidential information for his own benefit and for the benefit of
   25   True Wearables. On information and belief, Lamego continues to breach the
   26   Cercacor    Agreements        by   wrongfully   utilizing   Plaintiffs’   confidential
   27   information to the benefit of others and in the course of his employment with
   28   True Wearables.
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    1         64.    Lamego also breached the Cercacor Agreement by taking and using
    2   Cercacor’s trade secrets to compete directly with Cercacor. Cal. Bus. & Prof.
    3   Code § 16600 generally prohibits agreements forbidding former employees
    4   from engaging in work for a competitor. However, courts in California have
    5   recognized a trade secrets exception to Section 16600. See Asset Mktg. Sys. v.
    6   Gagnon, 542 F.3d 748, 758 (9th Cir. 2008). Lamego agreed with Cercacor “for
    7   a period of two (2) years immediately following my termination of employment
    8   with Masimo Labs (voluntary or otherwise), I shall be prohibited from
    9   competing with any business, product or service of Masimo Labs.” Ex. 4 at
   10   ¶14. Lamego also agreed that this was necessary to protect trade secrets. See
   11   Ex. 4 at ¶15. Lamego and True Wearables compete directly with Cercacor,
   12   using Cercacor trade secrets, in violation of the terms of the Cercacor
   13   Agreement.
   14         65.    Because of the Cercacor Agreement, Lamego also had an
   15   obligation to cooperate with Cercacor to do whatever necessary or appropriate
   16   to obtain patents.
   17         66.    Lamego breached the Cercacor Agreement by failing to cooperate
   18   with Cercacor by failing to pursue the patenting of certain subject matter he was
   19   instructed to pursue, as well as by refusing to review and sign inventor
   20   declarations and assignments for continuing patent applications on which he
   21   was a named inventor. Cercacor suffered harm as a result, including attorneys’
   22   fees and expenses.
   23         67.    Lamego also breached the Cercacor Agreement by not disclosing
   24   sufficient information regarding glucose and the other non-invasive parameters
   25   he claimed to have proven feasibility of at Cercacor, or in the alternative, not
   26   accurately presenting the status of their development.
   27         68.    Cercacor has fully performed all its obligations and have satisfied
   28   all conditions for performance under the Cercacor Agreement.
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    1         69.    Lamego has willfully, and with conscious disregard for the
    2   contractual obligations owed to Plaintiffs, breached the Cercacor Agreement.
    3         70.    Unless restrained and enjoined by the Court, Lamego will continue
    4   to breach the Cercacor Agreement.
    5         71.    As a foreseeable, direct, and proximate result of Lamego’s breach
    6   of contract, Cercacor has suffered irreparable injury to their rights and pecuniary
    7   damages. Cercacor will continue to suffer such injury, loss, and damage unless
    8   and until Lamego is enjoined from further use or disclosure of Cercacor’s
    9   confidential information.
   10         72.    Lamego has derived and received and will continue to derive and to
   11   receive from the aforementioned breach of contract, gains, profits, and
   12   advantages, many of which are not presently known to Cercacor. As a result,
   13   Lamego should be required to disgorge these gains, profits, and advantages in
   14   restitution for his breach.
   15         73.    Cercacor is therefore entitled to injunctive relief or specific
   16   performance of the Cercacor Agreement.
   17                          VII. THIRD CAUSE OF ACTION
   18                (TRADE SECRET MISAPPROPRIATION UNDER
   19               CALIFORNIA’S UNIFORM TRADE SECRET LAW)
   20         74.    Plaintiffs hereby reallege and incorporate by reference the
   21   allegations set forth in paragraphs 1 through 73.
   22         75.    This is a cause of action for Misappropriation of Trade Secrets under
   23   California’s Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426 et seq., based
   24   upon Defendants’ wrongful and improper use and disclosure of confidential and
   25   proprietary trade secret information of Plaintiffs.
   26         76.    Plaintiffs own the trade secrets including, but not limited to,
   27   Plaintiffs’ business plans, know-how, technical information, technical data,
   28

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    1   designs, manufacturing techniques and other business information (“Confidential
    2   Information”).
    3         77.    Plaintiffs’ Confidential Information is currently, and was at the time
    4   of Defendants’ misappropriation, not generally known. All individuals with access
    5   to Plaintiffs’ Confidential Information were instructed to keep it confidential, and
    6   they were subject to obligations to keep Plaintiffs’ Confidential Information
    7   secret. Additionally, Plaintiffs’ Confidential Information is not generally known
    8   to the public or to other persons who can obtain economic value from its
    9   disclosure or use.
   10         78.    Plaintiffs’ Confidential Information has actual and potential
   11   independent economic value because it is not generally known. The actual and
   12   potential independent economic value of Plaintiffs’ Confidential Information is
   13   derived from not being generally known because it gives Plaintiffs an actual and
   14   potential business advantage over others who do not know the information and
   15   who could obtain economic value from its disclosure or use.
   16         79.    Plaintiffs made reasonable efforts under the circumstances to keep
   17   Plaintiffs’ Confidential Information from becoming generally known.             For
   18   example, Plaintiffs’ efforts included marking documents confidential, instructing
   19   those individuals with access to the information to treat it as confidential,
   20   restricting access to the information, and requiring individuals to sign
   21   confidentiality agreements.
   22         80.    Plaintiffs are informed and believe, and thereon alleges, that Lamego
   23   misappropriated Plaintiffs’ Confidential Information by disclosure.              On
   24   information and belief, Lamego disclosed Plaintiffs’ Confidential Information,
   25   without Plaintiffs’ consent, to True Wearables, True Wearables’ employees, and
   26   True Wearables’ contractors in order for them improperly develop the Oxxiom
   27   product. Additionally, at the time of disclosure, Lamego knew or had reason to
   28   know that his knowledge of Plaintiffs’ Confidential Information was acquired by
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    1   an employer-employee and fiduciary relationship and Lamego’s employment
    2   agreements, which created a duty for Lamego to keep Plaintiffs’ Confidential
    3   Information secret.
    4         81.     Plaintiffs are informed and believe, and thereon allege, that
    5   Defendants also misappropriated Plaintiffs’ Confidential Information by use. On
    6   information and belief, Lamego used Plaintiffs’ Confidential Information in
    7   deciding to form True Wearables, in identifying the target market, the products to
    8   pursue, and during Lamego’s employment at True Wearables, without Plaintiffs’
    9   express or implied consent, for True Wearables to identify the target market, target
   10   product, and to develop and manufacture pulse oximetry product.
   11         82.     Plaintiffs are informed and believe, and thereon allege, that True
   12   Wearables also misappropriated Plaintiffs’ Confidential Information by
   13   disclosure.   On information and belief, True Wearables disclosed Plaintiffs’
   14   Confidential Information, without Plaintiffs’ consent, in order to improperly
   15   develop and manufacture the pulse oximetry devices. True Wearables knew or
   16   had reason to know that his knowledge of Plaintiffs Confidential Information
   17   came from Plaintiffs, and that Lamego had previously acquired Plaintiff’s
   18   Confidential Information by virtue of an employer-employee and fiduciary
   19   relationship and the Lamego agreements, all of which created a duty for Lamego
   20   to keep Plaintiffs’ Confidential Information secret.
   21         83.     Plaintiffs are informed and believe, and thereon allege, that
   22   Defendants misappropriated Plaintiffs’ Confidential Information by acquisition
   23   because True Wearables obtained possession of Plaintiffs’ Confidential
   24   Information from Lamego, when True Wearables knew or had reason to know that
   25   Lamego used improper means to acquire it. Additionally, True Wearables used
   26   improper means to acquire Lamego’s Confidential Information from Lamego
   27   because True Wearables relied on Lamego’s breach of his duty not to use
   28   Plaintiffs’ Trade Secrets. Lamego acquired the trade secrets by improper means.
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    1   Additionally, at the time of acquisition, Lamego knew or had reason to know that
    2   his knowledge of Plaintiffs’ Confidential Information came from Plaintiffs and
    3   that Lamego had previously acquired Plaintiffs’ Confidential Information by
    4   virtue of an employer-employee and fiduciary relationship and the Lamego
    5   agreements, all of which created a duty for Lamego to protect and not use
    6   Plaintiffs’ Confidential Information.
    7         84.      Plaintiffs were harmed by Defendants’ acquisition, use, and
    8   disclosure of Plaintiffs’ Confidential Information, and Defendants’ actions were
    9   substantial factors in causing Plaintiffs’ harm. As a direct and proximate result of
   10   Defendants’ willful, improper, and unlawful acquisition, use, and disclosure of
   11   Plaintiffs’ trade secrets, Plaintiffs have suffered, and will continue to suffer, great
   12   harm and damage. Plaintiffs will continue to be irreparably damaged unless
   13   Defendants are enjoined from further use and disclosure of Plaintiffs Confidential
   14   Information.
   15         85.      Defendants were unjustly enriched by Defendants’ acquisition, use,
   16   and disclosure of Plaintiffs’ Confidential Information, and Defendants’ actions
   17   were substantial factors in causing Defendants to be unjustly enriched.
   18   Defendants were unjustly enriched because their misappropriation of Plaintiffs’
   19   Confidential Information caused Defendants to receive a benefit that they
   20   otherwise would not have achieved.
   21         86.      If neither damages nor unjust enrichment caused by Defendants’
   22   misappropriation of Plaintiffs’ Confidential Information is provable at trial,
   23   Plaintiffs are entitled to a reasonable royalty for the period of time that
   24   Defendants’ use of Plaintiffs’ Confidential Information could have been
   25   prohibited.
   26         87.      The   aforementioned      acts   of    Defendants     in    wrongfully
   27   misappropriating Plaintiffs trade secrets were, and continue to be, willful and
   28   malicious, warranting an award of reasonable attorneys’ fees, as provided by
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    1   Cal. Civ. Code § 3426.4, and exemplary damages, as provided by Cal. Civ. Code
    2   §§ 3294 and 3426.3(c).
    3                       VIII. FOURTH CAUSE OF ACTION
    4      (TRADE SECRET MISAPPROPRIATION UNDER THE FEDERAL
    5                      DEFENSE OF TRADE SECRETS ACT)
    6         88.    Plaintiffs hereby reallege and incorporate by reference the
    7   allegations set forth in paragraphs 1 through 87.
    8         89.    This is a cause of action for Misappropriation of Trade Secrets under
    9   the Federal Defense of Trade Secrets Act of 2016, 18 U.S.C. §§ 1836 et seq.,
   10   based upon Defendants’ wrongful and improper use of confidential and
   11   proprietary trade secret information of Plaintiffs.
   12         90.    Plaintiffs own the trade secrets including, but not limited to, the
   13   Confidential Information previously described.
   14         91.    Plaintiffs’ Confidential Information is currently, and was at the time
   15   of Defendants’ misappropriation, secret. All individuals with access to Plaintiffs’
   16   Confidential Information were instructed to protect it, and they were subject to
   17   obligations to keep Plaintiffs’ Confidential Information secret.       Additionally,
   18   Plaintiffs’ Confidential Information is not generally known to the public or to
   19   other persons who can obtain economic value from its disclosure or use.
   20   Plaintiffs’ Confidential Information is not readily ascertainable by the public or to
   21   other persons.
   22         92.    Plaintiffs’ Confidential Information has actual and potential
   23   independent economic value because it is not generally known. The actual and
   24   potential independent economic value of Plaintiffs’ Confidential Information is
   25   derived from not being generally known because it gives Plaintiffs an actual and
   26   potential business advantage over others who do not know the information and
   27   who could obtain economic value from its disclosure or use.
   28   ///
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    1         93.    Plaintiffs made reasonable efforts under the circumstances to keep
    2   Plaintiffs’ Confidential Information secret.     For example, Plaintiffs’ efforts
    3   included marking documents confidential, instructing those individuals with
    4   access to the information to treat it as confidential, restricting access to the
    5   information, and requiring individuals with access to the information to sign
    6   confidentiality agreements.
    7         94.    Plaintiffs are informed and believe, and thereon allege, that True
    8   Wearables misappropriated Plaintiffs’ Confidential Information by use.        True
    9   Wearables’ unauthorized use of Plaintiff’s Confidential Information has occurred
   10   after the enactment of the DTSA in May 2016, and such unauthorized and
   11   improper use is ongoing and continues to this day.
   12         95.    On information and belief, Lamego disclosed Plaintiffs’ Confidential
   13   Information, without Plaintiffs’ consent, to True Wearables and to True
   14   Wearables’ employees for them improperly develop the Oxxiom product. True
   15   Wearables used Plaintiffs’ Confidential Information, without Plaintiffs’ express or
   16   implied consent, improperly to pursue the concept, and to identify the target
   17   market, identify the target product and develop and manufacture the Oxxiom
   18   device. On information and belief, True Wearables used Plaintiffs’ Confidential
   19   Information, without Plaintiffs’ consent, by choosing the target market, choosing
   20   the target product, and advertising and releasing True Wearables Oxxiom product.
   21   Additionally, at the time of disclosure, True Wearables knew or had reason to
   22   know that Lamego’s knowledge of Plaintiffs’ Confidential Information was
   23   acquired by virtue of an employer-employee and fiduciary relationship and
   24   Lamego’s employment agreements, which created a duty for Lamego to protect
   25   Plaintiffs’ Confidential Information.
   26         96.    On information and belief, Defendants also used Plaintiffs’
   27   Confidential Information during Lamego’s employment at True Wearables,
   28   without Plaintiffs’ express or implied consent, in order for True Wearables to
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    1   identify the target market, the target product, and develop and manufacture the
    2   Oxxiom product.
    3         97.    Plaintiffs’ are informed and believe, and thereon allege, that
    4   Defendants misappropriated Plaintiffs’ Confidential Information by acquisition
    5   because True Wearables obtained possession of Plaintiffs’ Confidential
    6   Information from Lamego, when True Wearables knew or had reason to know that
    7   Lamego used improper means to acquire it. Additionally, True Wearables used
    8   improper means to acquire Lamego’s Confidential Information from Lamego
    9   because True Wearables relied on Lamego’s breach of his duty not to use
   10   Plaintiffs’ Trade Secrets.
   11         98.    Plaintiffs were harmed by Defendants’ acquisition, use, and
   12   disclosure of Plaintiffs’ Trade Secrets, and Defendants’ actions were substantial
   13   factors in causing Plaintiffs’ harm.        As a direct and proximate result of
   14   Defendants’ willful, improper, and unlawful acquisition, use, and disclosure of
   15   Plaintiffs’ trade secrets, Plaintiffs have suffered, and will continue to suffer, great
   16   harm and damage. Plaintiffs will continue to be irreparably damaged unless
   17   Defendants are enjoined from further use and disclosure of Plaintiffs’ Trade
   18   Secrets.
   19         99.    Defendants were unjustly enriched by Defendants’ acquisition, use,
   20   and disclosure of Plaintiffs’ Trade Secrets, and Defendants’ actions were
   21   substantial factors in causing Defendants to be unjustly enriched. Defendants
   22   were unjustly enriched because their misappropriation of Plaintiffs’ Trade Secrets
   23   caused Defendants to receive a benefit that they otherwise would not have
   24   achieved.
   25         100. In the event that neither damages nor unjust enrichment caused by
   26   Defendants’ misappropriation of Plaintiffs’ Trade Secrets is provable at trial,
   27   Plaintiffs are entitled to a reasonable royalty for the period of time that
   28   Defendants’ use of Plaintiffs’ trade secrets could have been prohibited.
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    1         101. The       aforementioned      acts   of    Defendants     in    wrongfully
    2   misappropriating Plaintiffs trade secrets were, and continue to be, willful and
    3   malicious, warranting an award of reasonable attorneys’ fees, as provided by 18
    4   U.S.C. § 1836(b)(3)(D), and exemplary damages, as provided by 18 U.S.C.
    5   § 1836(b)(3)(C).
    6                          IX. FIFTH CAUSE OF ACTION
    7         (BREACH OF FIDUCIARY DUTY OF UNDIVIDED LOYATY
    8                                 AGAINST LAMEGO)
    9         102. Cercacor hereby realleges and incorporates by reference the
   10   allegations set forth in paragraphs 1 through 101.
   11         103. As an officer of Cercacor, Lamego owed duties of loyalty and other
   12   fiduciary duties to Cercacor, including the duty not to exploit his position within
   13   Cercacor’s corporate structure for his own benefit and the duty not to hinder or
   14   usurp Cercacor’s corporate opportunities.
   15         104. While serving as Cercacor’s Chief Technical Officer, Lamego
   16   oversaw research and development into technology for the noninvasive
   17   measurement of over twenty additional blood parameters.
   18         105. Lamego failed to pursue patent subject matter he was instructed to
   19   pursue. Although filing patents that appeared to relate to the subject matter,
   20   Lamego excluded certain subject matter for which he was instructed to seek patent
   21   protection.
   22         106. In 2013, Lamego represented to the Cercacor Board of Directors that
   23   many non-invasive parameters were feasible and available for license to Masimo.
   24         107. Cercacor revisited the feasibility studies for these parameters after
   25   Lamego’s unexpected departure, but could not confirm their feasibility. Either
   26   Lamego failed to fully disclose information critical to their feasibility, in breach of
   27   his fiduciary duty or he did not accurately represent the status, also in breach of his
   28   fiduciary duty. To the extent that Lamego did not accurately present to Cercacor
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    1   and its Board of Directors the status of his research and development into the
    2   technology for non-invasively measuring those blood parameters, or failed to fully
    3   disclose the developed technology, Lamego breached his duty of undivided
    4   loyalty.
    5           108. Based on Lamego’s representations, in December 2013, Masimo
    6   licensed the Lamego-developed technology to noninvasively measure five of those
    7   blood parameters and paid Cercacor a license fee of $2,500,000.
    8           109. Lamego acted against Cercacor’s interests by either not accurately
    9   presenting the status of at least the five parameters ultimately licensed by Masimo,
   10   or by failing to disclose sufficient information to Cercacor regarding feasibility of
   11   the technology for the parameters before his departure from Cercacor at the end of
   12   2013.      Indeed, Lamego did not maintain notebooks or sufficient records at
   13   Cercacor.
   14           110. Following Lamego’s departure from Cercacor, Cercacor was unable
   15   to transfer the technology to Masimo in a manner that allowed successful
   16   development of a product.       Cercacor revisited the testing of the Lamego-
   17   developed technology and ultimately determined it could not show feasibility
   18   sufficient to maintain the license to Masimo.
   19           111. Cercacor suffered financial harm as a result, refunding the
   20   $2,500,000 license fee to Masimo and the expense of substantial resources to
   21   develop the technology Lamego oversaw. Lamego’s failure in his duties to
   22   Cercacor was a substantial factor in causing Cercacor’s harm.
   23                            X. THE PATENTS-IN-SUIT
   24           112. Masimo is the owner by assignment of U.S. Patent No. 8,983,564
   25   entitled “Perfusion Index Smoother” (“the ’564 patent”), which the United
   26   States Patent and Trademark Office lawfully and duly issued on March 17,
   27   2015. A true and correct copy of the ’564 patent is attached hereto as Exhibit 5.
   28   ///
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    1         113. Masimo is the owner by assignment of U.S. Patent No. 8,886,271
    2   entitled “Non-Invasive Physiological Sensor Cover” (“the ’271 patent”), which
    3   the United States Patent and Trademark Office lawfully and duly issued on
    4   November 11, 2014. A true and correct copy of the ’271 patent is attached
    5   hereto as Exhibit 6.
    6         114. Masimo is the owner by assignment of U.S. Patent No. 7,295,866
    7   entitled “Low Power Pulse Oximeter” (“the ’866 patent”), which the United
    8   States Patent and Trademark Office lawfully and duly issued on November 13,
    9   2007. A true and correct copy of the ’866 patent is attached hereto as Exhibit 7.
   10         115. Masimo is the owner by assignment of U.S. Patent No. 7,186,966
   11   entitled “Amount of Use Tracking Device and Method for Medical Product”
   12   (“the ’966 patent”), which the United States Patent and Trademark Office
   13   lawfully and duly issued on March 6, 2007. A true and correct copy of the ’966
   14   patent is attached hereto as Exhibit 8.
   15                          XI. SIXTH CAUSE OF ACTION
   16               (INFRINGEMENT OF U.S. PATENT NO. 8,983,564)
   17         116. Plaintiffs hereby reallege and incorporate by reference the
   18   allegations set forth in paragraphs 1 through 115.
   19         117. Upon information and belief, True Wearables’ products, including
   20   at least the Oxxiom pulse oximeter, infringe at least Claims 1-3 of the
   21   ’564 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   22         118. Upon information and belief, True Wearables has directly infringed
   23   one or more claims of the ’564 patent through manufacture, use, sale, offer for
   24   sale, and/or importation into the United States of pulse oximeters, including the
   25   Oxxiom device.
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    1         119. For example, upon information and belief, in operation, the
    2   Oxxiom device and its corresponding Oxxiom application perform all of the
    3   limitations of Claim 2 of the ’564 patent. The Oxxiom device and application
    4   determine an indication of perfusion index, displayed on the Oxxiom
    5   application and labeled as “PI” as shown in the image below found on True
    6   Wearables website at https://www.truewearables.com/:
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   17         120. The Oxxiom device receives plethysmograph (“pleth”) data based

   18   on a signal received from a detector contained in an Osram SFH7050, a

   19   component within the Oxxiom device. On information and belief, the Oxxiom

   20   device and application use pleth data to determine SpO2, pulse rate, and

   21   perfusion index. Lamego further describes the Oxxiom device and application

   22   in a patent application he filed that published as U.S. Patent Application

   23   Publication 2018/0110450 on April 26, 2018. A copy of the publication is

   24   attached as Exhibit 9.   That publication describes that the Oxxiom device

   25   receives pleth data and processes it, for example in Fig. 24 and the

   26   corresponding text.

   27         121. The Oxxiom device and/or application determine an indication of

   28   perfusion index by utilizing at least one of a first calculation technique and a

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    1   second calculation technique to determine a resulting indication of perfusion
    2   index.     As shown above in the image, the Oxxiom application displays a
    3   resulting indication of perfusion index. On information and belief, when the
    4   Oxxiom device is tapped or rubbed while attached to a user, the perfusion index
    5   readings demonstrate the use of at least two different perfusion index calculation
    6   techniques.
    7            122. On information and belief, the Oxxiom device also determines the
    8   indication of perfusion index by choosing a calculation technique that will result
    9   in a lower perfusion index value. For example, when the Oxxiom device is
   10   tapped or rubbed, the perfusion index readings demonstrate the choice of a
   11   calculation technique resulting in the lowest perfusion index value.
   12            123. Upon information and belief, Lamego and True Wearables have
   13   knowledge of Masimo’s patents, including the ’564 patent at least based on
   14   Lamego’s former positions with Masimo and Cercacor. Masimo filed the patent
   15   application that led to the ’564 patent on September 26, 2012 and it published
   16   on March 28, 2014, both while Lamego was employed by Cercacor as Chief
   17   Technical Officer and oversaw Cercacor’s IP strategy.              Upon further
   18   information and belief, through the knowledge of the ’564 patent gained by
   19   monitoring Masimo’s patents, Lamego and True Wearables knew or should
   20   have known that these activities would infringe. True Wearables also had
   21   knowledge of the ’564 patent no later than the filing of this Complaint.
   22            124. Upon information and belief, True Wearables has actively induced
   23   others to infringe the ’564 patent by marketing and selling the above Oxxiom
   24   device, knowing and intending that such systems would be used by customers
   25   and end users in a manner that infringes the ’564 patent. To that end, True
   26   Wearables provides instructions and teachings to its customers and end users
   27   that such Oxxiom devices be used to infringe the ’564 patent. True Wearables’
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    1   acts constitute infringement of the ’564 patent in violation of 35 U.S.C.
    2   § 271(b).
    3             125. Upon information and belief, True Wearables actively induces
    4   users to directly infringe the asserted claims of the ’564 patent. By way of
    5   example only, upon information and belief, Oxxiom actively induces direct
    6   infringement of the ’564 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Oxxiom device. Upon information and belief, True Wearables knew or should
    9   have known that these activities would cause direct infringement.
   10             126. Upon information and belief, True Wearables’ acts constitute
   11   contributory infringement of the ’564 patent in violation of 35 U.S.C. § 271(c).
   12   Upon information and belief, True Wearables contributorily infringes because,
   13   among other things, True Wearables offers to sell and/or sells within the United
   14   States, and/or imports into the United States, components of the Oxxiom device
   15   that constitute material parts of the invention of the asserted claims of the
   16   ’564 patent, are not staple articles or commodities of commerce suitable for
   17   substantial non-infringing use, and are known by True Wearables to be
   18   especially made or especially adapted for use in an infringement of the
   19   ’564 patent.
   20             127. Upon information and belief, True Wearables’ infringement of the
   21   ’564 patent has been, and continues to be, willful, deliberate, and intentional by
   22   continuing its acts of infringement after becoming aware of the ’564 patent and
   23   its infringement thereof, thus acting in reckless disregard of Masimo’s patent
   24   rights.
   25             128. Because of True Wearables’ infringement of the ’564 patent,
   26   Masimo has suffered and will continue to suffer irreparable harm and injury,
   27   including monetary damages in an amount to be determined at trial.
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    1         129. Upon information and belief, unless enjoined, True Wearables,
    2   and/or others acting on behalf of True Wearables, will continue their infringing
    3   acts, thereby causing additional irreparable injury to Masimo for which there is
    4   no adequate remedy at law.
    5                       XII. SEVENTH CAUSE OF ACTION
    6               (INFRINGEMENT OF U.S. PATENT NO. 8,886,271)
    7         130. Plaintiffs hereby reallege and incorporate by reference the
    8   allegations set forth in paragraphs 1 through 129.
    9         131. Upon information and belief, True Wearables’ products, including
   10   at least the Oxxiom pulse oximeter, infringe at least Claims 1-2, 6-11, and 15-18
   11   of the ’271 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         132. Upon information and belief, True Wearables has directly infringed
   13   one or more claims of the ’271 patent through manufacture, use, sale, offer for
   14   sale, and/or importation into the United States of pulse oximeters, including the
   15   Oxxiom device.
   16         133. For example, upon information and belief, the Oxxiom includes all
   17   of the limitations of Claim 10 of the ’271 patent. The Oxxiom device has a
   18   sensor cover, including “tab 2,” for use with a noninvasive optical physiological
   19   sensor, the Oxxiom. The sensor cover comprises all the limitations of Claim 10.
   20   It includes an opaque portion attachable to the sensor and configured to block
   21   optical readings by the sensor, as shown in the instructions from the True
   22   Wearables website (https://www.truewearables.com/), reproduced below:
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    9   “Tab 2” also includes a non-adhesive portion that protrudes from the sensor to
   10   facilitate removal of the sensor cover, as showing in the depiction above.
   11   Furthermore, the Oxxiom device is a sensor that includes a light source
   12   configured to emit light from one or more emitters of the sensor and a detector
   13   configured to receive at least a portion of the light emitted by the one or more
   14   emitters after the light has passed through a tissue site. The Oxxiom device
   15   includes a light source that has multiple emitters, the multiple LEDs contained
   16   in an Osram SFH7050. That same Osram SFH7050 includes a detector that is
   17   configured to receive at least a portion of the light emitted by the one or more
   18   emitters after the light has passed through a tissue site. The opaque portion of
   19   “Tab 2” is configured to prevent the detector from receiving light during sensor
   20   activation, as shown in the instructions above.
   21         134. Upon information and belief, Lamego and True Wearables have
   22   knowledge of Masimo’s patents, including the ’271 patent at least based on
   23   Lamego’s former position with Cercacor.           The inventors filed the patent
   24   application that led to the ’271 patent on June 17, 2013, while Lamego was
   25   employed by Cercacor as Chief Technical Officer and oversaw IP strategy.
   26   Upon further information and belief, through the knowledge of the ’271 patent
   27   gained by monitoring Masimo’s patents, True Wearables knew or should have
   28

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    1   known that these activities would cause direct infringement. True Wearables
    2   also had knowledge of the ’271 patent no later than the filing of this Complaint.
    3         135. Upon information and belief, True Wearables has actively induced
    4   others to infringe the ’271 patent by marketing and selling the above Oxxiom
    5   devices, knowing and intending that such systems would be used by customers
    6   and end users in a manner that infringes the ’271 patent. To that end, True
    7   Wearables provides instructions and teachings to its customers and end users
    8   that such Oxxiom devices be used to infringe the ’271 patent. True Wearables’
    9   acts constitute infringement of the ’271 patent in violation of 35 U.S.C.
   10   § 271(b).
   11         136. Upon information and belief, True Wearables actively induces
   12   users to directly infringe the asserted claims of the ’271 patent. By way of
   13   example only, upon information and belief, Oxxiom actively induces direct
   14   infringement of the ’271 patent by providing directions, demonstrations, guides,
   15   manuals, training for use, and/or other materials necessary for the use of the
   16   Oxxiom device. Upon information and belief, True Wearables knew or should
   17   have known that these activities would cause direct infringement.
   18         137. Upon information and belief, True Wearables’ acts constitute
   19   contributory infringement of the ’271 patent in violation of 35 U.S.C. § 271(c).
   20   Upon information and belief, True Wearables contributorily infringes because,
   21   among other things, True Wearables offers to sell and/or sells within the United
   22   States, and/or imports into the United States, components of the Oxxiom that
   23   constitute material parts of the invention of the asserted claims of the ’271
   24   patent, are not staple articles or commodities of commerce suitable for
   25   substantial non-infringing use, and are known by True Wearables to be
   26   especially made or especially adapted for use in an infringement of the ’271
   27   patent.
   28   ///
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    1             138. Upon information and belief, True Wearables’ infringement of the
    2   ’271 patent has been, and continues to be, willful, deliberate, and intentional by
    3   continuing its acts of infringement after becoming aware of the ’271 patent and
    4   its infringement thereof, thus acting in reckless disregard of Masimo’s patent
    5   rights.
    6             139. As a consequence of True Wearables’ infringement of the ’271
    7   patent, Masimo has suffered and will continue to suffer irreparable harm and
    8   injury, including monetary damages in an amount to be determined at trial.
    9             140. Upon information and belief, unless enjoined, True Wearables,
   10   and/or others acting on behalf of True Wearables, will continue their infringing
   11   acts, thereby causing additional irreparable injury to Masimo for which there is
   12   no adequate remedy at law.
   13                          XIII. EIGHTH CAUSE OF ACTION
   14                  (INFRINGEMENT OF U.S. PATENT NO. 7,295,866)
   15             141. Plaintiffs hereby reallege and incorporate by reference the
   16   allegations set forth in paragraphs 1 through 140.
   17             142. Upon information and belief, True Wearables’ products, including
   18   at least the Oxxiom pulse oximeter, infringe at least Claims 10-12 of the ’866
   19   patent under at least 35 U.S.C. § 271(a), (b), and (c).
   20             143. Upon information and belief, True Wearables has directly infringed
   21   one or more claims of the ’866 patent through manufacture, use, sale, offer for
   22   sale, and/or importation into the United States of pulse oximeters, including the
   23   Oxxiom device.
   24             144. For example, upon information and belief, the Oxxiom device
   25   includes all of the limitations of Claim 10 of the ’866 patent. The Oxxiom
   26   device is a pulse oximeter capable of varying its power consumption,
   27   comprising all of the elements of Claim 10. The Oxxiom device includes an
   28   emitter driver, a Texas Instruments AFE4403. The Texas Instruments AFE4403
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    1   contains an integrated dual LED driver. The emitter driver of the Oxxiom
    2   device outputs a drive signal capable of driving at least one emitter of a sensor,
    3   contained in an Osram SFH7050, that detects energy attenuated by tissue of a
    4   measurement site of a patient.
    5         145. The Oxxiom also includes a controller, a Nordic Semiconductor
    6   nRF51422 system on a chip device with a Bluetooth transceiver, input/output
    7   interfaces, memory, and a processor. The Nordic chip, as configured in the
    8   Oxxiom device, uses at least a first duty cycle of the drive signal corresponding
    9   to a first power consumption and a second duty cycle of the drive signal
   10   corresponding to a second power consumption different than the first power
   11   consumption. For example, the data sheet for the Texas Instruments AFE4403
   12   explains that the device contains a configurable timing controller, controllable
   13   through a serial interface (SPI) to the Nordic Semiconductor nRF51422. On
   14   information and belief, through the serial interface, the Nordic Semiconductor
   15   nRF51422 configures the Texas Instruments AFE4403 to switch between duty
   16   cycles corresponding to two different power consumptions.
   17         146. Further description of the Oxxiom device is found in Exhibit 9, the
   18   patent application filed by Lamego that published on April 26, 2018. That
   19   publication describes many aspects of the Oxxiom device. For example, at
   20   paragraph 71, the publication states “FIG. 37 shows the typical workflow,
   21   advantages, and technical specifications of a wireless, fully disposable, single-
   22   use continuous clinical-grade oximeter (OXXIOM™) according to an
   23   embodiment of these inventions.” The publication specifically identifies the
   24   Osram SFH7050 at paragraph 95, the Nordic nRF51422 at paragraph 101, and
   25   the Texas Instruments AFE4403 at paragraph 88. The publication at paragraph
   26   88 further confirms that “If the preferred low-cost low-power pulse oximeter
   27   front[-]end from Texas Instruments, AFE4403 is used as the instrumentation
   28   electronics [], then it can be programmed to generate and control directly the
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    1   required LED modulation scheme without additional resources from the sensor
    2   processor [].” Figures 34A-C and paragraph 89 explain that “Modulations as
    3   shown in FIG. 34A can also be adopted in the case of measurement sites with
    4   low perfusion and/or subject to excessive motion.”               This description is
    5   consistent with the operation of the Oxxiom device.
    6         147. Upon information and belief, Lamego and True Wearables have
    7   knowledge of Masimo’s patents, including the ’866 patent at least based on
    8   Lamego’s former positions with Masimo and Cercacor. The ’866 patent issued
    9   in November 2007, while Lamego was employed by Cercacor as Chief
   10   Technical Officer and supervised IP strategy. Upon further information and
   11   belief, through the knowledge of the ’866 patent gained by monitoring
   12   Masimo’s patents, True Wearables knew or should have known that these
   13   activities would cause direct infringement. True Wearables also had knowledge
   14   of the ’866 patent no later than the filing of this Complaint.
   15         148. Upon information and belief, True Wearables has actively induced
   16   others to infringe the ’866 patent by marketing and selling the above Oxxiom
   17   devices, knowing and intending that such systems would be used by customers
   18   and end users in a manner that infringes the ’866 patent. To that end, True
   19   Wearables provides instructions and teachings to its customers and end users
   20   that such Oxxiom devices be used to infringe the ’866 patent. True Wearables’
   21   acts constitute infringement of the ’866 patent in violation of 35 U.S.C.
   22   § 271(b).
   23         149. Upon information and belief, True Wearables actively induces
   24   users to directly infringe the asserted claims of the ’866 patent. By way of
   25   example only, upon information and belief, Oxxiom actively induces direct
   26   infringement of the ’866 patent by providing directions, demonstrations, guides,
   27   manuals, training for use, and/or other materials necessary for the use of the
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    1   Oxxiom device. Upon information and belief, True Wearables knew or should
    2   have known that these activities would cause direct infringement.
    3             150. Upon information and belief, True Wearables’ acts constitute
    4   contributory infringement of the ’866 patent in violation of 35 U.S.C. § 271(c).
    5   Upon information and belief, True Wearables contributorily infringes because,
    6   among other things, True Wearables offers to sell and/or sells within the United
    7   States, and/or imports into the United States, components of the Oxxiom device
    8   that constitute material parts of the invention of the asserted claims of the
    9   ’866 patent, are not staple articles or commodities of commerce suitable for
   10   substantial non-infringing use, and are known by True Wearables to be
   11   especially made or especially adapted for use in an infringement of the
   12   ’866 patent.
   13             151. Upon information and belief, True Wearables’ infringement of the
   14   ’866 patent has been, and continues to be, willful, deliberate, and intentional by
   15   continuing its acts of infringement after becoming aware of the ’866 patent and
   16   its infringement thereof, thus acting in reckless disregard of Masimo’s patent
   17   rights.
   18             152. Because of True Wearables’ infringement of the ’866 patent,
   19   Masimo has suffered and will continue to suffer irreparable harm and injury,
   20   including monetary damages in an amount to be determined at trial.
   21             153. Upon information and belief, unless enjoined, True Wearables,
   22   and/or others acting on behalf of True Wearables, will continue their infringing
   23   acts, thereby causing additional irreparable injury to Masimo for which there is
   24   no adequate remedy at law.
   25

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   27   ///
   28   ///
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    1                        XIV. NINTH CAUSE OF ACTION
    2               (INFRINGEMENT OF U.S. PATENT NO. 7,186,966)
    3         154. Plaintiffs hereby reallege and incorporate by reference the
    4   allegations set forth in paragraphs 1 through 153.
    5         155. Upon information and belief, True Wearables’ products, including
    6   at least the Oxxiom pulse oximeter, infringe at least Claims 1, 4, 15, and 19 of
    7   the ’966 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    8         156. Upon information and belief, True Wearables has directly infringed
    9   one or more claims of the ’966 patent through manufacture, use, sale, offer for
   10   sale, and/or importation into the United States of pulse oximeters, including the
   11   Oxxiom device.
   12         157. For example, upon information and belief, the Oxxiom device and
   13   its application perform all of the limitations of Claim 1. The Oxxiom device is a
   14   noninvasive probe, and the Oxxiom and its application track the amount of use
   15   of the electronics of the Oxxiom device. The application alerts a caregiver
   16   when the electronics have expired.
   17         158. The Oxxiom device and its application determine a cumulative
   18   amount of use of the noninvasive probe, the Oxxiom device. The Oxxiom
   19   device includes a plurality of emitters, including the red and infrared LEDs
   20   located in an Osram SFH7050 on the Oxxiom device.                  The same Osram
   21   SFH7050 also contains a detector capable of detecting light attenuated by tissue.
   22   These features are further described in Lamego’s published patent application
   23   regarding the Oxxiom, Ex. 9 at paragraph 106.
   24         159. On information and belief, when the cumulative amount of use
   25   exceeds a predetermined amount of time, twenty-four hours, the Oxxiom
   26   application activates one or more indications, including a red “X” displayed on
   27   the battery icon in the application, conveying that the noninvasive optical probe
   28   has expired.
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    1         160. Upon information and belief, Lamego and True Wearables have
    2   knowledge Masimo’s patents, including the ’966 patent at least based on
    3   Lamego’s former positions with Masimo and Cercacor. The ’966 patent issued
    4   in March 2007, while Lamego was employed by Cercacor as Chief Technical
    5   Officer and supervised IP strategy.       Upon further information and belief,
    6   through the knowledge of the ’966 patent gained by monitoring Masimo’s
    7   patents, True Wearables knew or should have known that these activities would
    8   cause direct infringement.      True Wearables also had knowledge of the
    9   ’966 patent no later than the filing of this Complaint.
   10         161. Upon information and belief, True Wearables has actively induced
   11   others to infringe the ’966 patent by marketing and selling the above Oxxiom
   12   devices, knowing and intending that such systems would be used by customers
   13   and end users in a manner that infringes the ’966 patent. To that end, True
   14   Wearables provides instructions and teachings to its customers and end users
   15   that such Oxxiom devices be used to infringe the ’966 patent. True Wearables’
   16   acts constitute infringement of the ’966 patent in violation of 35 U.S.C.
   17   § 271(b).
   18         162. Upon information and belief, True Wearables actively induces
   19   users to directly infringe the asserted claims of the ’966 patent. By way of
   20   example only, upon information and belief, Oxxiom actively induces direct
   21   infringement of the ’966 patent by providing directions, demonstrations, guides,
   22   manuals, training for use, and/or other materials necessary for the use of the
   23   Oxxiom device. Upon information and belief, True Wearables knew or should
   24   have known that these activities would cause direct infringement.
   25         163. Upon information and belief, True Wearables’ acts constitute
   26   contributory infringement of the ’966 patent in violation of 35 U.S.C. § 271(c).
   27   Upon information and belief, True Wearables contributorily infringes because,
   28   among other things, True Wearables offers to sell and/or sells within the United
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    1   States, and/or imports into the United States, components of the Oxxiom device
    2   that constitute material parts of the invention of the asserted claims of the
    3   ’966 patent, are not staple articles or commodities of commerce suitable for
    4   substantial non-infringing use, and are known by True Wearables to be
    5   especially made or especially adapted for use in an infringement of the
    6   ’966 patent.
    7             164. Upon information and belief, True Wearables’ infringement of the
    8   ’966 patent has been, and continues to be, willful, deliberate, and intentional by
    9   continuing its acts of infringement after becoming aware of the ’966 patent and
   10   its infringement thereof, thus acting in reckless disregard of Masimo’s patent
   11   rights.
   12             165. Because of True Wearables’ infringement of the ’966 patent,
   13   Masimo has suffered and will continue to suffer irreparable harm and injury,
   14   including monetary damages in an amount to be determined at trial.
   15             166. Upon information and belief, unless enjoined, True Wearables,
   16   and/or others acting on behalf of True Wearables, will continue their infringing
   17   acts, thereby causing additional irreparable injury to Masimo for which there is
   18   no adequate remedy at law.
   19                                PRAYER FOR RELIEF
   20             WHEREFORE, Plaintiffs pray for judgment in its favor against
   21   Defendants for the following relief:
   22             A.   Pursuant to 35 U.S.C. § 271, a determination that True Wearables
   23   and its officers, agents, servants, employees, attorneys and all others in active
   24   concert and/or participation with them have infringed each of the ’564, ’271,
   25   ’866 and ’966 patents through the manufacture, use, importation, offer for sale,
   26   and/or sale of infringing products and/or any of the other acts prohibited by 35
   27   U.S.C. § 271;
   28

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    1         B.     Pursuant to 35 U.S.C. § 283, an injunction enjoining True
    2   Wearables and its officers, agents, servants, employees, attorneys and all others
    3   in active concert and/or participation with them from infringing the ’564, ’271,
    4   ’866 and ’966 patents through the manufacture, use, importation, offer for sale,
    5   and/or sale of infringing products and/or any of the other acts prohibited by 35
    6   U.S.C. § 271, including preliminary and permanent injunctive relief;
    7         C.     Pursuant to 35 U.S.C. § 284, an award compensating Masimo for
    8   True Wearables’ infringement of the ’564, ’271, ’866 and ’966 patents through
    9   payment of not less than a reasonable royalty on True Wearables’ sales of
   10   infringing products;
   11         D.     Pursuant to 35 U.S.C. § 284, an award increasing damages up to
   12   three times the amount found or assessed by the jury for True Wearables’
   13   infringement of each of the ’564, ’271, ’866 and ’966 patents in view of the
   14   willful and deliberate nature of the infringement;
   15         E.     Pursuant to 35 U.S.C. § 285, a finding that this is an exceptional
   16   case, and an award of reasonable attorneys’ fees and non-taxable costs;
   17         F.     An assessment of prejudgment and post-judgment interest and
   18   costs against True Wearables, together with an award of such interest and costs,
   19   pursuant to 35 U.S.C. § 284;
   20         G.     That Defendants, and each of them, be adjudged to have
   21   misappropriated Plaintiffs’ trade secrets in violation of the United States Defense
   22   of Trade Secrets Act of 2016, 18 U.S.C. §§ 1836 et seq., and that True Wearables
   23   acts in doing so be adjudged willful, malicious, and done knowingly;
   24         H.     That Defendants, and each of them, be adjudged to have
   25   misappropriated Plaintiffs’ trade secrets in violation of the California Uniform
   26   Trade Secrets Act, Cal. Civ. Code § 3426 et seq., and that Lamego’s acts in doing
   27   so be adjudged willful, malicious, oppressive, and done knowingly
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    1         I.      That Lamego be adjudged to have breached the Masimo
    2   Agreements, and that Lamego’s acts in doing so be adjudged willful, malicious,
    3   oppressive, and done knowingly;
    4         J.      For an order that Lamego specifically perform the Masimo
    5   Agreements;
    6         K.      For preliminary and permanent injunctions enjoining Lamego from
    7   breaching the Masimo Agreements;
    8         L.      That Lamego be adjudged to have breached the Cercacor
    9   Agreement, and that Lamego’s acts in doing so be adjudged willful, malicious,
   10   oppressive, and done knowingly;
   11         M.      For an order that Lamego specifically perform the Cercacor
   12   Agreement;
   13         N.      For preliminary and permanent injunctions enjoining Lamego from
   14   breaching the Cercacor Agreement;
   15         O.      That the Court award Cercacor its actual damages caused by
   16   Lamego’s breach of his fiduciary duty to Cercacor;
   17         P.      That Defendants, and each of them, be adjudged to have been
   18   unjustly enriched;
   19         Q.      That Defendants and each of them, their respective agents, servants,
   20   employees, and attorneys, and all those persons in active concert or participation
   21   with each of them, be forthwith temporarily, preliminarily, and thereafter
   22   permanently required to return all of Plaintiffs’ trade secrets and confidential
   23   information and enjoined from further using and disclosing to any third parties any
   24   of Plaintiffs’ trade secrets and confidential information;
   25         R.      That Defendants, their respective agents, servants, employees, and
   26   attorneys, and all those persons in active concert or participation with Defendants,
   27   be forthwith temporarily, preliminarily, and thereafter permanently required to
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    1   return all of Plaintiffs’ trade secrets and enjoined from further using and disclosing
    2   to any third parties any of Plaintiffs’ trade secrets;
    3          S.     That Defendants be enjoined from selling or offering to sell any
    4   product, including True Wearables Oxxiom product, that includes or uses any of
    5   Plaintiffs’ trade secrets;
    6          T.     That Defendants, and each of them, be directed to file with this Court
    7   and to serve on Plaintiffs within thirty (30) days after the service of the injunction,
    8   a report in writing, under oath, setting forth in detail the manner and form in which
    9   Defendants, and each of them, have complied with the injunction;
   10          U.     That Defendants, and each of them, be required to account to
   11   Plaintiffs for any and all gains, profits, and advantages derived by each of them,
   12   and all damages sustained by Plaintiffs, by reason of Defendants’ acts complained
   13   herein;
   14          V.     That Plaintiffs be awarded exemplary damages from Defendants, and
   15   each of them, pursuant to Cal. Civ. Code §§ 3294 and 3426.3(c);
   16          W.     An award of taxable costs; and
   17          X.     That this Court award such other and further relief as this Court
   18   may deem just.
   19                                      Respectfully submitted,
   20                                      KNOBBE, MARTENS, OLSON & BEAR, LLP
   21
        Dated: November 8, 2018            By: /s/ Brian C. Claassen
   22                                          Joseph R. Re
                                               Stephen C. Jensen
   23                                          Irfan A. Lateef
                                               Brian C. Claassen
   24
                                                Attorneys for Plaintiffs,
   25                                           Masimo Corporation and
                                                Cercacor Laboratories, Inc.
   26

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    1                                DEMAND FOR JURY TRIAL
    2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
    3   Masimo Corporation and Cercacor Laboratories, Inc., hereby demand a trial by
    4   jury on all issues so triable.
    5                                    Respectfully submitted,
    6                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
    7
        Dated: November 8, 2018          By: /s/ Brian C. Claassen
    8                                        Joseph R. Re
                                             Stephen C. Jensen
    9                                        Irfan A. Lateef
                                             Brian C. Claassen
   10
                                             Attorneys for Plaintiffs,
   11                                        Masimo Corporation and
                                             Cercacor Laboratories, Inc.
   12

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